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Lecal AO 442 (Rev. LOSE) Arrest Warrant

 

UNITED STATES DISTRICT COURT RECEIVED 4
DISTRICT OF NORTH DAKOTA UNITED STATES MARSHAL
FEB 20 2020

United States of America DISTRICT OF NORTH DAKOTA
v. )
Grayson Dye Crise Mo, 3:20-cr-42-11
)
)

Defendant
ARREST WARRANT

To: — Any authorized law enforcement officer.

YOU ARE COMMANDED to arrest and bring belore a United Stales magistrate judge without unnecessary delay
(name af person te be arrested) Civayson Dye

who is accused of an offense or violation based on the following document t led with the court:
A indictment C) Superseding Indictment CF fnforniation YT Superseding Information = CT Complaint

J Probation Violation Petition T Supervised Release Violation Petition TWViolition Notice 7 Order of the Court
This offense ts briefly deseribed as follows:

Conspiracy to Distribute and Pdssess wilh Intent to Distribute a Contro led Substance:
Forfeiture Allegation

 

Date: 02/20/2020 /s/ Jackie Stewart

Issiting afficer y signature

City and state’ Fargo, ND Jackie Siewart, Deputy Clerk

Printed nant and tith

 

Return

 

This warrant was received on fares ol/do foo and the person Was arrested on fetes 7/5 foo oO
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Date: Vas fne20 LL xm

wtrresting officer's signature

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Printed name anid tithe

 

 
